OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3:97CR184-10
                     Howard Saintclai Hines
                                                                       )   USM No: 13731-058
Date of Previous Judgment: 09/28/1999                                  )   F. Lane Williamson
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    37                Amended Offense Level:                                        37
Criminal History Category: III               Criminal History Category:                                    III
Previous Guideline Range: 262  to 327 months Amended Guideline Range:                                      262       to 327   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   The guideline range does not change since the offense involved more than 4.5 kilograms of crack
                     cocaine.




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 09/28/1999                         shall remain in effect.
IT IS SO ORDERED.

Order Date:        December 15, 2008


Effective Date:
                     (if different from order date)



                 Case 3:97-cr-00184-FDW                     Document 720            Filed 06/09/09       Page 1 of 1
